Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 1 of 78

Overall Program Statistics
(Status Report as of February 16, 2011)

Claimants by State

Eo Fotal Unique Claimar ce sre a 10%
1, Individual 402,449
2. Business 88,083 +
~ - 15% 39%
Represented Claimants: 14,714

Total Paid Claimants 168,842 $ 3,400,005,941,09 33%

LA MEL SAL BMS MTX @ Others

Separate Fund for Real Estate Brokers and Agents $ 60,000,000.00
005,941.09.
pine

"4. Emergency Advance Payment 448,972 168,839 168,983

$ 2,570,554 547.09
2. Final: Quick Pay 92 557 89,179 89,206 $ 819,255,000.00
3. Final: Full Review
(net of Claimants with Quick Payment Issued) 99,157 2 2 $ 10,007,500.00
4, Interim Payment
(net of Claimants with Quick Payment issued} 92,469 1 1 $ 188,909.00
Total 693,155 258,021 258,192 $ 3,400,005,941.09

1. Emergency Advance Payment $ "1,061 ,486,810.45
2, Final: Quick Pay $ 352,515,000.00
3. Final: Full Review
(net of Claimants with Quick Payment Issued) 1 1 $ 7,500.00
4. interim Payment .
{net of Glaimants with Quick Payment Issued} 39,883 0 q $

Sub-Total 566,044 194,580 194,635 $ 1,414,009,310.45

79,997 $ 1,509,067 ,730.64
2, Final: Quick Pay 19,338 18,676 18,696 $ 466,740,000.00
3. Final: Fuli Review
{net of Claimants with Quick Payment issued) 15,190 1 1 $ 10,000,000.00
4. Interim Payment
tnet of Claimants with Quick Payment Issued} 12,586 1 1 $ 188,900.00
Sub-Total 127,411 63,441 63,557 $ 1,985,996,630.64

Separate Fund for Real Estate Brokers and Agents $ 60,000,000.00

1. Removal and Clean Up Costs 55 74 $

2. Real or Personal Property 166 230 $

3. Lost Earnings or Profits 168,657 257,803 $ 3,396,918,148.49

4, Loss of Subsistence Use of Natural Resources 13 15 $ 79,285.71

5. Physical Injury / Death 58 70 $ 187,706.36
Total 168,949 258,192 § 3,400,005,941.09

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Overall Program Statistics {1 of 8}

Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 2 of 78

Overall Program Statistics
(Status Report as of February 16, 2071)

Individual Claims by Amount
(Claimants may have more than one Claim Category}

1. $0.01 - $5,000.00 121,892 $ 503,542,621.90
2. $5,000.01 - $10,000.00 38,779 $ 290,282, 161.13
3. $10,000.01 - $25,000.00 29,193 $ 447 ,382,959.29
4. $25,000.01 - $100,000.00 4,738 $ 168,525,968.13
5, $100,000.01 - $500,000.00 33 $ 4,275,600.90

&, Over $500,000.00 0 $ :
Total 194,635 $ 1,414,009,310.45
3. 10,000.04 =s5,a00.00 Individual Claims Paid by Value Range 4. $25,000.01 - $100,000.00

243%

5, $100,000.01 - $500,000.00

2. $5,000.01 - $10,000.00 6.02%

19.92%

6. Over $500,000.00
0.00% 1. $0.01 - $5,000.00

62.63%

5. $100,000.01 - $500,000.00 individual Amount Paid by Value Range

0.30% 1. $0.01 - $5,000.00

35.61%
4, $25,000.01 - $100,000.00
11.92%

6. Over $500,000.00
0.00%

3, $10,000.01 - $25,000.00

31.64% 2. $5,000.01 - $10,000.00

20.53%

Overall Program Statistics (2 of 8)
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 3 of 78

. Overall Program Statistics
(Status Report as of February 16, 2011)

Business Claims by Amount
(Claimants may have more than one Claim Category}

1. $0.04 - $5,000.00 10,621 $ 29,072,645.17
2. $5,000.01 - $10,000.00 8,123 $ 60,859,357.87
3. $10,000.01 - $25,000.00 29,869 $ 654,47 1,951.60
4. $25,000.01 - $100,000.00 12,115 $ 614,122,400.00
5, $400,000.01 - $500,000.00 2,726 $ 485 442,100.00
6. Over $506,000.00 103 $ 142,028,176.00
Total 63,557 $ 1,985,996,630.64
5. $100,000.01 - $500,000.00 Business Claims Paid by Value Range 6. Over $500,000.00

4.29% 0.16%

4. $25,000.01 - $100,000.00

1. $0.01 - $5,000.00
19.06%

16.71%

2. $5,000.01 - $10,000.00
12.78%

3. $10,000.01 - $25,000.00
47.00%

4, $25,000.01 - $100,000.00 Business Amount Paid by Value Range
30.92%

5. $100,000.01 - $500,000.00
24.44%

6. Over $500,000.00

7.15%
1. $0.01 - $5,000.00

3. $10,000.02 - $25,000.00 2. $5,000.01 - $10,000.00 1.46%
32.95% 3.06%

Overall Program Statistics (3 of 8)
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 4 of 78

Overall Program Statistics
(Status Report as of February 16, 2071)

Claims by Category and Amount
(Claimants may have more than one Claim Category)

1. Removal and Clean Up Costs
a. $0.01 - $5,000.c0 44 $ 93,094.12
b. $5,000.01 - $10,000.00 10 $ 71,400.00
c. $10,000.01 - $25,000.00 15 $ 310,200.06
d. $25,000.01 - $400,000.00 3 $ 133,700.00
e. $100,000.01 - $500,000.00 2 $ 294,100.00
f. Over $500,000.00 0 $ -
Sub-Total 74 $ 902,494.12
2. Real or Personal Property
a, $0.01 - $5,000.00 146 $ 444,037.40
b. $5,000.01 - $10,000.00 36 3 256,015.72
c. $10,000.01 - $25,000.00 34 3 561,189.91
d. $25,000.01 - $100,000.00 13 $ 500,963.38
e. $100,000.01 - $500,000.90 1 $ 176,100.00
f. Over $500,000.00 0 $ +
Sub-Total 230 $ 1,938,306.41
3. Lost Earnings or Profits
a. $0.01 - $5,000.00 132,243 $ 531,911,113.34
b. $5,000.01 - $19,000.00 46,855 $ 350,806,960.42
c. $10,000.01 - $25,000.00 59,009 § 1,100,910,693.98
d. $25,000.01 - $100,060.00 16,837 $ 782,013,704.75
6. $100,000.01 - $500,000.00 2,756 $ 489 247,500.00
f. Over $500,000.00 103 $ 142 028,176.00
Sub-Total 257,803 $ 3,396,918,148.49

Overall Program Statistics (4 of 8)
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 5 of 78

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Overall Program Statistics
(Status Report as of February 16, 2071)

Claims by Category and Amount
(Claimants may have more than cone Claim Category)

4. Loss ot Subsistence Use of Natural Resources

a. $0.01 - $5,000.00 14 $ 54,285.71

b. $5,000.01 - $10,000.00 0 $ -

c. $10,000.91 - $25,000.00 1 $ 25,000.00

d, $25,000.01 - $100,000.00 Q $ -

e. $100,000.01 - $500,000.00 0 $ -

f. Over $500,000.00 0 $ :
Sub-Total 15 $ 79,285.71

5. Physical Injury / Death

a. $0.01 - $5,000.06 66 $ 412,736.50

b. $5,000.01 - $10,000.00 1 $ 7,142.86

c. $10,009.01 - $25,000.00 3 $ 47,827 ,00

d. $25,000.01 - $100,000.00 0 $ -

e, $100,000.91 - $500,000.00 0 $ -

f. Over $500,000.00 0 $ -
Sub-Total 70 $ 167,706.36

6. Other Claims

a. $0.01 - $5,900.00
b. $5,000.01 - $10,000.00
c. $16,000.01 - $25,000.00
d. $25,000.01 - $400,000.00
é. $100,000.01 - $500,000.00
f. Over $500,000.00

Sub-Total

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Overall Program Statistics (6 of 8}
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 6 of 78

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Overall Program Statistics
(Status Report as of February 16, 2071)

Individual Lost Earnings or Profits Claims Paid by Industry
(Claimants may have more than one Ciaim Category)

Fishing 10,231 3 138,925,620.01
Food, Beverage and Lodging 103,797 $ 676,764,729,.55
Rental Property(ies) 3,177 $ 25, 713,000.00
Retail, Sales and Service 67,770 $ 488,900,115.65
Seafood Processing and Distribution 6,322 $ 59,976,431.08
Tourism and Recreation 3,079 $ 22,478,140.22
Total 194,376 $ 1,412,758,036.51

Seafood Processing and
Distribution
3.25%

# of Individual Claims Paid by Industry

Retail, Sales and Service . 4 .
34.87% Tourism and Recreation

158%

Rental Propertyties}
1.63%

Food, Beverage and Lodging
53.40%
Amount of Individual Claims Paid by Industry
Retail, Sales and Service
34.61%

Seafood Processing and
Distribution
4.25%

Tourism and Recreation
1.59%

Rental Propertyfies)
1.82%

Food, Beverage and Lodging
47.90%

Overal! Program Statistics (6 of 8)
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 7 of 78

Overall Program Statistics
(Status Report as of February 76, 2011)

Business Lost Earnings or Profits Claims Paid by Industry
(Claimants may have more than one Claim Category)

Fishing 12,251 $ 442,519,075.21
Food, Beverage and Lodging 6,007 $ 309,788,178.00
Rental Property(ies) 17,341 $ 312,672,770.12
Retail, Sales and Service 25,507 $ 755,745,488,65
Seafood Processing and Distribution 1,130 $ 412,171,200.00
Tourism and Recreation 1,191 $ 51,263,400.00
Total 63,427 $ 1,984,160,111.98

# of Business Claims Paid by Industry

Retail, Sales and Service
40.21%

Seafood Processing and

Rental Property(ies Distribution

27.34%

Tourism and Recreation

1.88%
Food, Beverage and Lodging

94S 19.32%

Amount of Business Claims Paid by Industry Retail, “ane Service
. Ao

Rental Propertyties)

15.76%
Seafood Processing and

Distribution

Tourism and Recreation

Food, Beverage and Lodging. 2.58%

15.61% 22.30%

Overall Program Statistics (7 of 8)
Case 2:10-md-02179-CJB-DPC Document 6356-11 Filed 04/25/12 Page 8 of 78

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Overall Program Statistics
(Status Report as of February 16, 2071)

Claims by State of Residence
(Claimants may have more than one Claim Type}

Louisiana 270,999 90,943 $ 1,109,422 896.70
Florida 211,964 94,844 $ 1,214,441,776.00
Alabama 94,643 37,829 $ §60,724,638.94
Mississippi 69,648 22,133 $ 282 502,229.45
Texas 12,078 3,271 $ 96,489,000.00
Others 23,707 9,172 $ 136,425 ,400.00
Total 683,039 258,192 $ 3,400,005,941.09
MS # of Claims ™ AL Amount Paid for MS
by State Other 16.49% Claims by State 8.31%

3.47%

AL
13.86%

32,63%

Claims by State of Loss

{Claimants may have more than one Claim Type}

Louisiana 169,366 91,976 $ 4,147 ,493,543.81
Florida 167,253 101,760 $ 1,307 847,827.26
Alabama 68,382 40,264 $ §99,272,831.34
Mississippi 43,579 21,410 $ 271 ,489,841.22
Texas 5,622 2,081 $ 62,745,200,00
Other State / Pending Location Verification 704 $ 14,156,697.46
Total 258,192 $ . 3,400,005,941.09
AL # of Claims MS x a Amount Paid for Ms
15.06% by State 4.24% 17.63% Claims by State 7.98%

FL
36.82%

FL
38.47%
LA

37.29%

Overall Program Statistics (8 of 8)
GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Autauga 114 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) :
Resident of County 18 $232 300.00 S28 Resident
222 Both
Resident and Loss in County 2 $12,300.00
Totals: 20 $244,600.00
Baldwin 39,324 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 725  $10,568,163.38 ERS Resident
28 Loss
Resident and Loss in County 10,794  $226,869,000.00 Ha Both
Claim Loss in County 5,082 $63,331,100,00
Totals: 16,601 $300,768,263.38
Barbour 34 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) Resident of Count $29,100.00 wee] Resident
esident of County 100. T= Both
Resident and Loss in County 2 $91,300.00
Totals: 5 $120,400.00
Bibb 30 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident cf County 9 $50,500.00 #689 Resident
Totals: 9 $50,500.00
Blount 35 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) :
Resident of County 4 $59,100.00 Bila Resident
Totals: 4 $59,100.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Bullock 19 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 2 $19,700.00 HE Resident
Totals: , 2 $19,700.00
Butler 55 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 5 $45,400.00 BM Resident
28 Loss
Resident and Loss in County 1 $5,400.00 :
Claim Loss in County 2 $129,200.00
Totals: 8 $180,000.00
Calhoun 258 Claimant Type Claims Paid Amount Paid Payments In County
(Alabama) .
Resident of County 29 $264,100.00 Hf Resident
Bee Loss
Claim Loss in County 1 $1,000.00
Totals: 30 $265,100.00
Chambers 17 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 5 $40,3G0.00 EBs Resident
Totals: 5 $40,300.00
Cherokee 19 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) ,
Resident of County 7 $46,000.00 He Resident
Totals: . 7 $46,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Chilton 67 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) ,
Resident of County 9 $68,200.00 imma Resident
22 Both
Resident and Loss in County 3 $97,200.00
Toials: 12 $165,400.00
Choctaw 71 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) ,
Resident of County 2 $11,000.00 HEE Resident
faee Both
Resident and Loss in County 1 $68,400.00
Totals: 3 $79,400.00
Clarke 384 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
i #28 Resident
Resident of County 36 $347,000.00 = Loss
Resident and Loss in County 4 $40,400.00 HGS Both
Claim Loss in County $57,000.00
Totals: 45 $444,400.00
Clay 17 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 5 $64,200.00 Siem Resident
Totals: 5 $64,200.00
Cieburne 12 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County { $3,000.00 HEH Resident
Totals: 1 $3,000.00

GCCF Program Statistics - Overall Summary

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(as of February 16, 2011)

Coffee 108 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 16 $156,800.00 Sa Resident
ESeS Loss
Resident and Loss in County 1 $3,000.00 Bea Both
Claim Loss in County 4 $1,000.00
Totals: 18 $160,800.00
Colbert 93 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 28 $263,400.00 B88 Resident
Totals: 28 $263,400.00
Conecuh 65 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 6 $57,700.00 Hs Resident
Totals: 6 $57,700.00
Coosa 24 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 4 $42,700.00 HS Resident
2258 Both
Resident and Loss in County 1 $150,000.00
Totals: 5 $192,700.00
Covington 257 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i @eee Resident
Resident of County 39 $763,600.00 S593 Loss
Resident and Loss in County 3 $97,800.00 isa Both
Claim Loss in County 2 $109,500.00
Totals: 44 $970,900.00

(as of February 16, 2011)

Crenshaw 46 Claimant Type Claims Paid Amouni Paid Payments in County
(Alabama) ,
Resident of County 5 $17,900.00 Ha Resident
ee Loss
Resident and Loss in County 1 $1,500.00 Sule
Claim Loss in County 1 $4,000.00
Totals: 7 $23,400.00
Cullman 130 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) oe
Resident of County 39 $418,300.00 HREE Resident
Totals: 39 $418,300.00
Dale 86 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 11 $86,400.00 ES Resident
Resident and Loss in County 1 $37,600.00
Claim Loss in County 1 $7,300.00
Totals: 13 $131,300.00
Dallas 104 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 13 $156,200.00 Hae Resident
2282 Both
Resident and Loss in County 1 $15,000.00
Totals: 14 $171,200.00
Dekalb 54 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i fase Resident
Resident of County 15 $162,100.00 EH Lose
Claim Loss in County 1 $10,800.00
Totals: 16 $172,900.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Elmore 158 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 23 $232,400.00 EGER Resident
S08 Both
Resident and Loss in County 2 $116,000.00 ,
Totals: 25 $348,400.00
Escambia 570 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) i eee Resident
Resident of County 66 $765,400.00 #4 Loss
Resident and Loss in County 23 $231,600.00 :
Claim Loss in County 15 $186,100.00
Totals: 104 $1,183,100.00
Etowah 189 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i Ei Resident
Resident of County 40 $610,500.00 Su Both
Resident and Loss in County 1 $150,100.00
Totals: 41 $760,600.00
Fayette 42 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 13 $84,000.00 Ei Resident
Totais: 13 $84,000.00
Franklin 26 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 8 $74,700.00 EEE Resident
Totals: 8 $74,706.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Geneva 136 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) Resident of County 21 $177,300.00 ~ esaent
Resident and Loss in County 1 $39,400.00
Totals: 22 $216,700.00
Greene 17 Claimant Type Claims Paid Amount Paid Payments in County

(Alabama) .
Resident of County 6 $32,900.00 Stim Resident
Totals: 6 $32,900.00
Hale 34 Claimant Type Claims Paid Amount Paid Payments in County
(alabama) Resident of County 10 $157,500.00 ee Resident
Resident and Loss in County 1 $100,000.00
Totals: 11 $257,500.00
Henry 38 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) Resident of County 5 $19,600.00 ies Resident
Totals: 5 $19,600.00
Houston 429 Claimant Type Claims Paid Amount Paid Payments in County
(alabama) Resident of County 58 $963,000.00 — Resident
Resident and Loss in County 3 $205,900.00 tae Bath
Claim Loss in County 4 $6,000.00
Totals: 62 $1,174,900.00

(as of February 16, 2011)

Jackson 49 Claimant Type Claims Paid Amount Paid Payments in County
Alabama)
( Resident of County 10 $132,200.00 Hane Resident
Ee Loss
Claim Loss in County 1 $14,500.00
Totals: 11 $146,700.00
Jefferson 1,979 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 420 $5,414,200.00 HE Resident
ESS Loss
Resident and Loss in County 8 $134,900.00 a Both
Claim Loss in County 5 $70,900.00
Totals: 433 $5,620,000.00
Lamar 4 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 1 $1,000.00 ee Resident
Totals: 1 $1,000.00
Lauderdale 141 Claimant Type Claims Paid Amount Paid Payments in County
Alabama) .
( Resident of County 28 $278,100.00 Heed Resident
Totals: 28 $278,100.00
Lawrence 26 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i $4 Resident
Resident of County 3 $27,800.00 BES Loce
Claim Loss in County 1 $3,200.00
Totals: 4 $31,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Lee (Alabama) 260 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 56 $551,500.00 H™ Resident
Totais: 56 $551,500.00
Limestone 97 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 31 $359,900.00 faa Resident
Totals: 31 $359,900.00
Macon 13 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) ,
Resident of County 3 $11,500.00 HBA Resident
Totals: 3 $11,500.00
Madison 7793 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
i Hes Resident
Resident of County 172 $1,931 ,900.00 22551 Lose
Resident and Loss in County 10 $116,200.00 Eame Both
Claim Loss in County 3 $56,600.00
Totals: 185 $2,104,700.00
Marengo 55 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) i #8 Resident
Resident of County 12 $87,400.00 B23 Loss
Claim Loss in County 1 $48 100.00
Totals: 13 $135,500.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Marion 25 Claimant Type Claims Paid Amount Paid Payments in County
{Alabama)
Resident of County 2 $3,600.00 38 Resident
Totals: 2 $3,600.00
Marshall 156 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 43 $650,800.00 HSE Resicent
228: Both
Resident and Loss in County 1 $37,200.00
Totals: 44 $688,000.00
Mobile 53,957 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
. Baa Resident
Resident of County 1,444 $18,636,275.56 FSF Loss
Resident and Loss in County 9,834 $147,660,900.00 Both
Claim Loss in County 965 $15,040,900.00
Totals: 12,243 $181,338,075.56
Monroe 248 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 44 $683,500.00 HES Resident
882 Both
Resident and Loss in County 13 $153,500.00
Totals: 57 $837,000.00
Montgomery 754 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 126 $2,158,700.00 BES Resident
ei Loss
Resident and Loss in County i1 $374,800.00 Rua Both
Claim Loss in County 4 $39,700.00
Totals: 141 $2,573,200.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Morgan 216 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) ,
i #28) Resident
Resident of County 63 $972,300.00 ==! Bath
Resident and Loss in County 3 $82,100.00
Toials: 66 $1,054,400.00
Perry 7 Claimant Type Ciaims Paid Amount Paid Payments in County
(Alabama)
Claim Loss in County 1 $35,000.00 Ee Loss
Totals: 1 $35,000.00
Pickens 23 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 5 $62,700.00 HMA Resident
Toials: 5 $62,700.00
Pike 78 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 11 $69,300.00 HES Resident
S889 Both
Resident and Loss in County 1 $12,200.00
Totals: 12 $81,500.00
Randolph 17 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 4 $52,500.00 GES Resident
#222 Both
Resident and Loss in County 1 $6,600.00
Totals: 5 $59,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Russell 58 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 8 $55,500.00 HES Resident
Totals: & $55,500.00
Shelby 700 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 178 $1,958,400.00 iil Resident
ee Loss
Resident and Loss in County 1 $22,000.00 oth
Claim Loss in County 2 $30,300.00
Totals: 181 $2,010,700.00
St. Clair 126 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 30 $394,200.00 Hee Resident
ce Both
Resident and Loss in County 1 $32,700.00
Totals: 31 $426,900.00
Sumter 23 Claimant Type Claims Paid Amount Paid Paymenis in County
(Alabama) .
Resident of County 1 $46,200.00 Gas Resident
Totals: 1 $46,200.00
Talladega 128 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 30 $185,100.00 af Resident
Totals: 30 $185,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Tallapoosa 82 Claimant Type Claims Paid Amount Paid Payments in County
Alabama) .
¢ Resident of County 15 $99,000.00 EBEY Resident
Totals: 15 $99,000.00
Tuscaloosa 597 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i Bae Resident
Resident of County 146 $1,380,300.00 = Loss
Resident and Loss in County 4 $160,600.00 ae Both
Claim Loss in County 2 $49,000.00
Totals: 152 $1,589,900.00
Unknown 366 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
Resident of County 59 $1,098,700.00 Hid Resident
Totals: 59 $1,098,700.00
Walker 104 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) .
' ES) Resident
Resident of County 20 $243,900.00 == Locs
Claim Loss in County 3 $38,600.00
Totals: 23 $282,500.00
Washington 444 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
i $8 Resident
Resident of County 32 $372,800.00 = Lose
Resident and Loss in County 3 $41,500.00 ones
Claim Loss in County 5 $112,600.00
Totals: 40 $526,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Wilcox 126 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama) 4 fC #88 Resident
i 1 .
Resident of County 2 $172,006.00 se Both
Resident and Lass in County 3 $67,000.00
Totais: 15 $239,000.00
Winston 34 Claimant Type Claims Paid Amount Paid Payments in County
(Alabama)
Resident of County 5 $153,000.00 Sg] Resident
Totals: 5 $153,000.00
Alachua 225 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 29 $345,000.00 HE Resident
meas Loss
Resident and Loss in County 5 $145,600.00 Both
Claim Loss in County 2 $21,000.00
Totals: 36 $511,600.00
Bay (Florida) 47,488 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 796 $9,250,400.00 Ee Resident
Ge Loss
Resident and Loss in County 13,512 $188,913,576.00 BE Beth
Claim Loss in County 2,509 $26,368,500.00
Totals: 16,817 $224,532,476.00
Brevard 462 Claimant Type Claims Paid Amount Paid payments in County
(Florida)
Resident of County 18 $395,100.00 HESS Resident
ae Loss
Resident and Loss in County 10 $681,400.00 Eee! Both
Claim Loss in County 3 $36,800.00
Totals: 31 $1,113,300.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Broward 2,060 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
: Ee Resident
Resident of County 56 $1,319,400.00 == Lose
Resident and Loss in County 17 $3,623,100.00 Bath
Claim Loss in County 13 $298,900.00
Totals: 86 $5,241,400.00
Calhoun 321 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) .
Resident of County 32 $317,100.00 ie Resident
Resident and Loss in County 1 $6,000.00 Bolh
Claim Loss in County 1 $4,200.00
Toials: 34 $327,300.00
Charlotte 666 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) .
‘ 8) Resident
Resident of County 16 $164,100.00 == Loss
Resident and Loss in County 66 $2,152,200.00 See Both
Claim Loss in County 23 $145,900.00
Totals: 105 $2,462,200.00
Citrus (Florida) 613 Claimant Type Claims Paid Amount Paid Payments in County
' Hes Resident
Resident of County 31 $497,200.00 ind Loss
Resident and Loss in County 444 $2,272,300.00 Bae Both
Claim Loss in County 10 $257,500.00
Totals: 152 $3,027,000.00
Clay (Florida) 164 Claimant Type Claims Paid Amount Paid Payments in County
: Se Resident
Resident of County 10 $62,500.00 #885 Lose
Resident and Loss in County 2 $126,000.00 Sie Both
Claim Loss in County 1 $18,700.00
Totals: 43 $207,200.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Collier 17,732 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 172 $1,324,500.00 HEE Resident
wes Loss
Resident and Loss in County 3,291 $30,170,400.00 EES Both
Claim Loss in County 238 $1 ,995,100.00
Totals: 3,701 $33,490,000.00
Columbia 47 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resid fC EE! Resident
esident of County 6 $101,000.00 = Both
Resident and Loss in County 1 $40,000.00
Totals: 7 $141,000.00
Desoto 25 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident and Loss in County 2 $20,000.00 EES Both
Totals: 2 $20,000.00
Dixie (Florida) 111 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $3,000.00 EEE Resident
SEs Loss
Resident and Loss in County 13 $537,800.00 Both
Claim Loss in County 5 $101,200.00
Totals: 19 $642,000.00
Duval (Florida) 960 Claimant Type Ciaims Paid Amount Paid Payments in County
Resident of County 78 $1,110,000.00 EEE Resident
Es Loss
Resident and Loss in County 18 $1 ,329.200.00 Both
Claim Loss in County 10 $201,400.00
Totals: 106

$2,640,600.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Escambia 31,807 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 2,069 $22.340,300.00 HG Resident
Resident and Loss in County 7,078 $95,014,800.00
Claim Loss in County 1,607 $19,442,900.00
Totals: 10,754  $136,798,000.00
Flagler 50 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 3 $68,600.00 Gd Resident
Totals: 3 $68,600.00

Franklin 3,722 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 52 $627,300.00 es Resident
Resident and Loss in County 1,370 $18,657,700.00 Hise Both
Claim Loss in County 185 $2,997,800.00
Totals: 1,607 $22,282,800.00
Gadsden 199 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 11 $182,400.00 Resident
Resident and Lass in County 3 $47,100.00 SE Both
Claim Loss in County 1 $6,000.00
Totals: 15 $235,500.00
Gilchrist 17 Claimant Type Glaims Paid Amount Paid Payments in County
(Florida) Resident of County 2 $12,700.00 a Resident
Totals: 2 $12,700.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Glades 6 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 2 $13,400.00 i Resident
Totals: 2 $13,400.00
Gulf (Florida) 2,928 Claimant Type Claims Paid Amount Paid Payments in County
j Bias) Resident
Resident of County 181 $1,979,000.00 =e Loss
Resident and Loss in County 616 $11,842,000.00 :
Claim Loss in County 179 $2,077,000.00
Totals: 976 $15,898,000.00
Hardee 17 Claimant Type Claims Paid Amounit Paid Payments in County
(Florida)
Resident of County 1 $15,000.00 HE Resident
Totals: 1 $15,000.00
Hendry 136 Claimant Type Claims Paid Amount Paid Payments in County
{Florida}
Resident of County 2 $25,800.00 HES Resident
Totals: 2 $25,800.00
Hernando 458 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 33 $502,400.00 Ee Resident
Bes Loss
Resident and Loss in County 51 $1,207,200.00 Eee Both
Claim Loss in County 22 $513,600.00
Totals: 106 $2,223,200.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Highlands 126 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Claim Loss in County 1 $12,600.00 i Loss
Totals: 1 $12,600.00
Hillsborough 5,104 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 162 $1,887,000.00 HESS Resident
ies Loss
Resident and Loss in County 399 $6,084,600.00 Eeges| Both
Claim Loss in County 162 $1,967,300.00
Totals: 723 $9,938,900.00
Holmes 845 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 160 $1,511,400.00 a= Resident
Resident and Loss in County 52 $810,000.00 Ha Both
Claim Loss in County 17 $124,000.00
Totals: 229 $2,445,400.00
Indian River 142 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 4 $25 900.00 HS Resident
Glee Loss
Resident and Loss in County 4 $161,500.00 Both
Claim Loss in County 1 $65,000.00
Totals: 9 $252,400.00
rein 760 Claimant Type Claims Paid Amount Paid Payments in County
orida
j Ha Resident
Resident of County 61 $779,200.00 BEM Loss
Resident and Loss in County 4 $114,500.00 iia Both
Claim Loss in County 1 $7,900.00
Toials: 66 $901,600.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Jefferson 34 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 5 $112,200.00 Eas Resident
Resident and Loss in County 3 $4,200.00 Both
Claim Loss in County 2 $7,000.00
Totals: 10 $123,400.00
Lafayette 12 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident and Loss in County 1 $226,700.00 HG Both
Totals: 1 $226,700.00
Lake (Florida) 194 Claimant Type Claims Paid Amount Paid Payments in County
: ESS Resident
Resident of County 12 $76,300.00 == Both
Resident and Loss in County 5 $138,600.00
Totals: 17 $214,900.00
Lee (Florida) 8,301 Claimant Type Claims Paid Amount Paid Payments in County
i Hes Resident
Resident of County 254 $2,382,600.00 SES Lose
Resident and Loss in County 893 $10,849,200.00 Bath
Claim Loss in County 154 $1,194,900.00
Totals: 1,301 $14,426,700.00
Leon (Florida) 1,385 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 159 $2,572,000.00 Resident
Resident and Loss in County 9 $291,300.00 Both
Claim Loss in County 6 $87,800.00
Totals: 174 $2,951,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Levy (Florida) 484 Claimant Type Claims Paid Amount Paid Payments in County
: Bee Resident
Resident of County 17 $284,700.00 SS Loss
Resideni and Loss in County 115 $2,578,100.00 Both
Claim Loss in County 13 $259,000.00
Totals: 145 $3,121 ,800.00
Liberty 123 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) ni
Resident of County 21 $246,600.00 ERS Resident
gee: Loss
Resident and Loss in County 4 $43,200.00 Bath
Claim Loss in County 3 $59,200.00
Totals: 28 $349,000.00
Madison 45 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
: #228 Resident
Resident of County 1 $8,100.00 == Loss
Claim Loss in County 2 $21,200.00
Totals: 3 $29,300.00
Manatee 1,391 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
: B@ee Resident
Resident of County 61 $967,400.00 == Lose
Resident and Loss in County 164 —- $3,892,100.00 BeBe Both
Claim Loss in County 65 $1,039,900.00
Totals: 280 $5,899,400.00
Marion 249 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of Count 17 $186,900.00 Resident
asident of County 900. BEE Lose
Resident and Loss in County 5 $66,200.00 Both
Claim Loss in County 2 $59,800.00
Totals: 24 $312,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Martin 116 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) #884 Resident
Resident of County 5 $39,900.00 25% Loss
Resident and Loss in County 6 $155,400.00 iis Both
Claim Loss in County 2 $34,600.00
Totals: 13 $229,900.00
Miami-dade 4,204 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 451 $3,100,000.00 He Resident
222 Loss
Resident and Loss in County 122 $1,724,500.00 ifue Both
Claim Loss in County 18 $447,900.00
Totals: 591 $5,272,400.00
Monroe 9,760 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) .
Resident of County 63 $1,104,800.00 Eee Resident
ge Loss
Resident and Loss in County 3,235 $62,913,900.00 Both
Claim Loss in County 488 $4,079,500.00
Totals: 3,786 $68,098,200.00
Nassau 71 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 5 $81,800.00 SEH Resident
es Loss
Resident and Loss in County $31,100.00 Sea Both
Claim Loss in County $67,800.00
Totals: 11 $180,700.00
Okaloosa 39,600 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) :
Resident of County 1,908  $21,034,000.00 HESS Resident
=a Loss
Resident and Loss in County 10,764  $171,479,900.00 fea Both
Claim Loss in County 4,484 $54,280,600.00
Totals: 17,156 $246,794,500.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Okeechobee 24 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Florida) .
: Ese Resident
Resident of County 1 $3,500.00 === Less
Claim Loss in County 1 $5,060.00
Totals: 2 $8,500.00
Orange 2,756 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) .
Resident of County 115 $4 ,268,400.00 ce Resident
Resident and Loss in County 8 $228,600.00
Totals: 123 $1,497,000.00
Osceola 254 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 10 $63,500.00 a Resident
Totals: 10 $63,500.00
Palm Beach 1,765 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 42 —— $1,659,300.00 Hie Resicent
gee: Loss
Resident and Loss in County 13 $671,700.00 Both
Claim Less in County 2 $12,200.00
Totals: 57 $2,343,200.00
Pasco (Florida) 1,485 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 131 $1 ,624,600.00 Resident
Resident and Loss in County 142 $3,988,500.00 Both
Claim Loss in County 31 $385,500.00
Totals: 304 $5,998,600.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Pinellas 10,831 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of Count 135 $2,229 ,700.00 228 Resident
esident of County 229,700. =r Lose
Resident and Loss in County 2,271 $32,378,300,00 oth
Claim Loss in County 295 $3,177,700.00
Totals: 2,701 $37,785,700.00
Polk (Florida) 818 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 28 $634,500.00 in Resident
2e8) Lass
Resident and Loss in County 9 $247,100.00 oth
Claim Loss in County 1 $9,200.00
Totals: 38 $890,800.00
Putnam 44 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident and Loss in County 3 $108,400.00 Ee Both
Totals: 3 $108,400.00
Santa Rosa 15,057 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of Count 1,429 $15,673,300.00 SM Resident
esident of County ; 673,300. = Loss
Resident and Loss in County 2,600 $46,730,900.00 faa Both
Claim Loss in County 1,682 $18,731,000.00
Totals: 5,711 $81,135,200.06
Sarasota 1,595 Claimant Type Claims Paid Amount Paid Payments in County
(Fiorida)
: feee Resident
Resident of County 47 $621,800.00 == Loss
Resident and Loss in County 105 $2,501,300.00° ee
Claim Loss in County 44 $380,200.00
Totals: 193 $3,503,300.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Seminole 256 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
Resident of County 24 $330,200.00 ES Resident
Totals: 24 $330,200.00
St. Johns 164 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
: Ze] Resident
Resident of County 11 $182,900.00 == Both
Resident and Loss in County 4 $76,500.00
Totals: 15 $259,400.00
St. Lucie 290 Claimant Type Claims Paid Amount Paid Payments in County
(Florida)
' ee: Resident
Resident of County 8 $105,400.00 58 Both
Resident and Loss in County 3 $65,000.00
Totals: 11 $170,400.00
Sumter 47 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of Count 9 $202,100.00 EE Resident
esident of County 100. == Both
Resident and Loss in County 1 $16,000.00
Totals: 10 $218,100.00
Suwannee 32 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) /
; , Bey Resident
Resident of County 3 $30,900.00 ==5 Both
Resident anid Loss in County 1 $4,300.00
Totals: 4 $35,200.60

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Taylor 219 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 8 $294,200.00 ee fresigent
Resident and Loss in County 45 $1,601,500.00 Both
Claim Loss in County 5 $41,800.00
Totals: 58 $1,937,500.00
Union (Florida) 4 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $7,800.00 Wee Resident
Totals: 1 $7,800.00
Unknown 570 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 73 $1,117,300.00 ti Resident
Totals: 73 $1,117,300.00
Volusia 301 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 18 $1,133,500.00 HEE Resident
Se" Loss
Resident and Loss in County 6 $627,000.00 Eig Both
Claim Loss in County 3 $33,800.00
Totals: 27 $1,794,300.00
Wakulla 1,210 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) Resident of County 47 $1,033,300.00 = Resident
Resident and Loss in County 356 $7,573,600.00 HES Both
Claim Loss in County 33 $727,400.00
Totals: 436 $9,334,300.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Walton 18,000 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) .
Resident of County 1,385 $23,163,200.00 Resident
[| Loss
Resident and Loss in County 4,120 $71 ,927,900.00 Bath
Claim Loss in County 3,143 $32,098,900.00
Totals: 8,648  $127,190,000.00
Washington 1,611 Claimant Type Claims Paid Amount Paid Payments in County
(Florida) . ,
Resident of County 341 $3,020,800.00 ee Resident
Resident and Loss in County 62 $551,600.00 Both
Claim Loss in County 1 $92,400.00
Totals: 414 $3,664,800.00
Acadia 412 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) :
Resident of County 18 $422,500.00 _ Resident
Resident and Loss in County 11 $470,700.00 Both
Claim Loss in County 7 $148,000.00
Totals: 36 $1,041,200.00
Allen 82 Claimant Type Claims Paid Amount Paid Payments in County
Louisiana)
( Resident of County 2 $34,100.00 = Resident
Claim Loss in County 2 $38,600.00 .
Totals: 4 $72,700.00
Ascension 2,420 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
: ie Resident
Resident of County 81 $979,900.00 == Loss
Resident and Loss in County 17 $426,300.00 Both
Claim Loss in County 2 $20,900.00
Totals: 100 $1,427,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Assumption 1,387 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 60 $840,100.00 ane Resident
O38
Resident and Loss in County 145 $1,802,500.00 Both
Claim Loss in County 14 $156,900.00
Totals: 219 $2,799,500.00
Avoyelles 281 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 15 $188,800.00 age Resident
3 Oss
Resident and Loss in County 15 $762,600.00 Both
Claim Loss in County 4 $60,600.00
Totals: 34 $1,012,000.00
Beauregard ss Claimant Ty pe Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 3 $135,200.00 = Resident
Resident and Loss in County 4 $76,000.00 fa = &
Totals: 7 $211,200.00
Bossier 135 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) /
Resident of County 9 $71,200.00 Eee! Resident
225 Both
Resident and Loss in Gounty 1 $186,800.00
Totals: 10 $258,000.00
Caddo 319 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 26 $182,100.00 ae Resident
Bees Both
Resident and Loss in County 1 $305,800.00
Totais: 27 $487,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Calcasieu 1,821 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 133 $3,656,700.00 EBM Resident
Eee Loss
Resident and Loss in County 113 $2,896,100.00 Both
Claim Loss in County 34 $736,600.00
Totals: 280 $7,289,400.00
Caldwell 15 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 2 $7,300.00 Resident
Totals: 2 $7,300.00
amen 599 Claimant Type Claims Paid Amount Paid Payments in County
ouisiana .
Resident of County 24 $531,300.00 HEH Resident
meee Loss
Resident and Loss in County 149 $3,871 ,700.00 Both
Claim Loss in County 92 $2 241,200.00
Totals: 265 $6,644,200.00
Catahoula 33 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
j ER! Resident
Resident of County 1 $8,500.00 =25 Both
Resident and Loss in County 1 $3,000.00
Totals: 2 $11,500.00
Claiborne 14 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Claim Loss in County 1 $80,400.00 Hee Loss
Totals: 1 $80,400.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Totals: 16

Concordia 85 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
; Sd Resident
Resident of County 4 $133,500.00 STS Both
Resident and Loss in County 2 $70,000.00
Totals: 6 $203,500.00
De Soto 17 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 1 $3,200.00 Resident
Totals: 1 $3,200.00
E.Baton Rouge 6,722 Claimant Type Claims Paid Amount Paid Payments in County
Louisiana
( ) Resident of County 286 $4,324,200.00 a Resident
zee5 Loss
Resident and Loss in County 54 $1,868,900.00 Both
Claim Loss in County 21 $292,800.00
Totals: 361 $6,482,900.00
E. Feliciana 104 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
: #8 Resident
Resident of County 1 $14,000.00 =e Loss
Resident and Loss in County 3 $115,000.00 Both
Claim Loss in County 3 $22,100.00
Totals: 7 $151,100.00
Evangeline 150 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) ,
1 Hig Resident
Resident of County 10 $147,000.00 ESI Loss
Resident and Loss in County 4 $70,300.00 ae Bath
Claim Loss in County 2 $7,700.00
$225,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Franklin 28 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 3 $35,200.00 Ha Resident
#288 Loss
Claim Loss in County 1 $1,000.00
Totals: 4 $36,200.00
Grant 30 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 1 $15,500.00 Gi Resident
Hee Loss
Claim Loss in County 1 $10,000.00
Totals: 2 $25,500.00
Iberia 2,509 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 152 $3,772,604.75 = Resident
Bees
Resident and Loss in County 357 $7,849,618.96 Eee! Both
Claim Loss in County 160 $3,296,200.00
Totals: 669 $14,918,423.71
Iberville 579 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
i BEE Resident
Resident of County 21 $327,100.00 o== Lose
Resident and Loss in County 62 $831,600.00 Eee Both
Claim Loss in County 8 $200,100.00
Totals: 91 $1,408,800.00
Jackson 23 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County { $18,600.00 BiH Resident
26 Both
Resident and Loss in County 1 $4,500.00
Totals: 2 $23,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Jefferson 91,046 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 5,955 $61,475,663.25 ee Resident
Resident and Loss in County 12,881 $161,872,360.17 Both
Claim Loss in County 4,675 $46,045, 768.23
Totals: 23,511 $269,393,791.65
Jefferson Davis 170 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 7 $91,200.00 = Resident
Resident and Loss in County 10 $245,900.00 Both
Claim Loss in County 2 $65,000.00
Totals: 19 $402,100.00
La Salle 32 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) :
Resident of County 1 $1,000.00 BES Resident
Totals: 1 $1,000.00
Lafayette 3,637 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 292 $6,695,700.00 ae Resident
Resident and Loss in County 162 $5,171,100.00 Both
Claim Loss in County 129 $2,798,300.00
Totals: 583 = $14,665,100.00
Lafourche 7,826 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 318 $4,861 500.00 8 Resident

Resident and Loss in County 1,340 $41,518,900.00
Claim Loss in County 522. $7 447,400.00
Totals: 2,180 $53,827,800.00

See, Loss
fee Both

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Lincoln 71 Claimant Type Ctaims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 5 $143,100.00 Hl Resident
Totals: 5 $143,100.00
Livingston 1,037 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 74 $1,331,800.00 fii Resident
Resident and Loss in County 30 $830,000.00
Claim Loss in County 8 $269,200.00
Totals: 112 $2,431 ,000.00
Madison 14 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana).
Resident of County 1 $16,200.00 Eee Resident
Totals: 1 $16,200.00
(Louision) 52 Claimant Ty pe Claims Paid Amount Paid Payments in County
Louisiana
Resident of County 4 $14,300.00 Ea Resident
Totals: 4 $14,300.00
Noutstena) 62 Ciaimant Ty pe Ciaims Paid Amount Paid Payments in County
Louisiana
' ee Resident
Resident of County 2 $59,400.00 == Lose
Resident and Loss in County 2 $39,400.00 HE Both
Claim Loss in County 1 $16,000.00
Totals: 5 $114,800.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Orleans 93,523 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 3,783  $33,147,907.27 il Resident
Ee Loss
Resident and Loss in County 16,759 $175,027,663.32 EEE Both
Claim Loss in County 6,881 $71,882,695.75
Totals: 27,423 $280,058,266.34
Ouachita 293 Ciaimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
i Hea Resident
Resident of County 31 $416,700.00 ‘eis Both
Resident and Loss in County 5 $123,000.00
Totals: 36 $539,700.00
Plaquemines 8,376 Claimant Type Ciaims Paid Amount Paid Payments in County
(Louisiana)
j es Resident
Resident of County 242 $5,886,600.00 Ses Lose
Resident and Loss in County 1,274 $64,806,700.00 Hae Both
Claim Loss in County 869 $21 292,400.00
Totals: 2,385 $91 985,700.00
Pointe Coupee 131 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
. Bee Resident
Resident of Couniy 5 $144,800.00 S28 Both
Resident and Loss in County 2 $30,006.00
Totals: 7 $174,800.00
Rapides 429 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
i Bese Resident
Resident of County 31 $398,100.00 285 Both
Resident and Loss in County 7 $393,800.00
Totals: 38 $791,900.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Richland 26 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 3 $134,700.00 Haga Resident
Totals: 3 $134,700.00
Sabine 40 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
; ESS Resident
Resident of County 1 $16,800.00 ==! Both
Resident and Loss in Gounty 1 $40,000.00
Totals: 2 $56,800.00
St. Bernard 9,482 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) 8 Dax;
Resident of County 781 $8,532,400.00 = Resicent
Resident and Loss in County 1,241 $29,538,826.95 Both
Claim Loss in County 422 $6,635,200.00
Totals: 2,444 $44,706,426.95
St. Charles 6,819 Claimant Type Ciaims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 506 $4,477,193.73 EES Resident
222) Loss
Resident and Loss in County 588 $10,112,675.64 Both
Claim Loss in County AQ7 $4,216,190.17
Totals: 1,501 $18,806,059.54
St. Helena 193 Claimant Type Claims Paid Amount Paid Payments in County
{Louisiana)
Resident of County 6 $81,800.00
Claim Loss in County 1 $25,000.00
Totals: 7 $106,800.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

St. James 1,943 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 71 $644,869.79 a Resident
= Loss
Resident and Loss in County 11 $235,700.00 Bath
Claim Loss in County 2 $53,800.00
Totals: 84 $934,369.79
St. John The 8,481 Claimant Type Claims Paid Amount Paid Payments in County
Baptist
(Louisiana) Resident of County 517 $4,005,187.61 a Resident
Resident and Loss in County 517 $6,005,380.77 Both
Claim Loss in County 191 $1,888,500.00
Totals: 1,225 $11,899,068.38
St. Landry 615 Claimant Type Claims Paid Amount Paid Payments in County
Louisiana .
( ) Resident of County 37 $791,316.08 HEH Resident
gees; Loss
Resident and Loss in County 23 $587,100.00 Bath
Claim Loss in County 4 $104,300.00
Totals: 64 $1,482,716.08
St. Martin 1,283 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 68 $1,286,700.00 ae Resident
Resident and Loss in County 302 $5,469,655.18 Both
Claim Loss in County 56 $705,700.00
Totals: 426 $7,462,055.18
St. Mary 3,543 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 157 $2,915,200.00 He Resident
2223) Loss
Resident and Lass in County 526 $12,077 ,900.00 wa Both
Claim Loss in County 282 $6,973,600.00
Totals: 965 $21,966,700.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

St. Tammany 15,448 Claimant Type Ciaims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 1,082  $15,154,100.00 BEE Resident
fee Loss
Resident and Loss in County 2,344 $39,669,443.59 Both
Claim Loss in County 739 $8,730,032.50
Totals: 4,165 $63,553,576.09
Tangipahoa 3,904 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 233 $3,577,700.00 ce Resident
Resident and Loss in County 123 $2,837,700.00 Balh
Ciaim Loss in County 31 $830,300.00
Totals: 387 $7,245,700.00
Terrebonne 12,921 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 304 $4,873,400.00 aE Resident
=) Loss
Resident and Loss in County 2,872 $70,902,529.64 Both
Claim Loss in County 606 $12,778,400.00
Totals: 3,782 $88,554,329.64
Union 21 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Louisiana) .
. BEE Resident
Resident of County 3 $100,300.00 SES Both
Resident and Loss in County 1 $40,800.00
Totals: 4 $141,100.00
Unknown 937 Claimant Type Ciaims Paid Amount Paid Payments in County
(Louisiana) oe
Resident of County 69 $1,088, 100.00 Resident
Totals: 69 $1,088,100.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Vermilion 2,551 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 140 $2,719,600.00 Eis Resident
a2) Loss
Resident and Loss in County 632 $14,441,000.00 Bath
Claim Loss in County 202 $22,744,920.83
Totals: 974 $39,905,520.83
Vernon 47 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 2 $15,000.00 ie Resident
Resident and Loss in County 1 $5,000.00 Both
Claim Loss in County 3 $124,000.00
Totals: 6 $144,000.00
W. Baton 291 Claimant Type Claims Paid Amount Paid Payments in County
Rouge ,
(Louisiana) Resident of County 2 $53,000.00 .. Resident
Resident and Loss in County 2 $41,900.00 He Bath
Claim Loss in County 4 $94,900.00
Totals: 8 $189,800.00
W. Feliciana 60 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana)
Resident of County 1 $8,000.00 Meee Resident
Totals: 1 $8,000.00
Washington 822 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 51 $870,800.00 = Resident
Resident and Loss in County 33 $691,000.00 Bath
Claim Loss in County 4 $126,100.00
Totals: 8&8 $1,687,900.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Webster 31 Claimant Type Claims Paid Amount Paid Payments in County
(Louisiana) .
Resident of County 2 $170,300.00 W288 Resident
Totals: 2 $170,300.00
Adams 134 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 1 $4,800.00 HEE Resident
Totals: 1 $4,800.00
Alcorn 9 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $6,800.00
Totals: 2 $6,800.00
Amite 50 Claimant Type Claims Paid Amount Paid Paymenis in County
(Mississippi)
Resident of County 3 $41,600.00 Resident
Totals: 3 $41,600.00
Bolivar 16 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $19,000.00 ike! Resident
Totals: 2 $19,000.00

_GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Calhoun 9 Glaimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $55,000.00 S284 Resident
Totals: 1 $55,000.00
Chickasaw 4 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 1 $6,000.00 IES Resident
Totals: 1 $6,000.00
Claiborne 17 Claimant Type . Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 1 $17,600.00 #699] Resident
Totals: 1 $17,600.00
Clarke 141 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 5 $114,900.00 Eid Resident
88 Both
Resident and Loss in County 1 $9,000.00
Totals: 6 $123,900.00
Coahoma 16 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 3 $49,900.00 Sia Resident
Totals: 3 $49,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Copiah 54 Claimant Type Claims Paid Amount Paid Payments in Gounty
(Mississippi) .
Resident of County 2 $32,000.00 i] Resident
Totals: 2 $32,000.00
Covington 509 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 3 $44,400.00 ca Resident
Resident and Loss in County 1 $1,000.00
Totals: 4 $45,400.00
Desoto 118 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 23 $272,700.00 Resident
Totals: 23 _ $272,700.00
Forrest 2,478 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 69 $882,300.00 EE) Resident
ie Loss
Resident and Loss in County 18 $502,800.00 Both
Claim Loss in County 5 $25,000.00
Totals: 92 $1,410,100.00
Franklin 23 Claimant Ty pe Claims Paid Amount Paid Payments in County
(Mississippi)
; geeq Resicent
Resident of County 1 $7,500.00 E28 Lose
Claim Loss in County 1 $14,600.00
Totals: 2 $22,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

George 995 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
. Hes Resident
Resident of County _ 78 $1,052,900.00 Teal Loss
Resident and Loss in County 50 $1,090,300.00 Both
Claim Loss in County 8 $90,600.00
Totals: 136 $2,233,800.00
Greene 279 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 10 $75,200.00 Resident
Resident and Loss in County 6 $47,800.00
Totals: 16 $123,000.00
Grenada 9 Claimant Type Claims Paid Amount Paid Paymenis in County
Mississippi
( PP!) Resident of County 1 $5,000.00 EES! Resident
Totals: 1 $5,000.00
Hancock 6,789 Claimant Type Claims Paid Amount Paid Payments in County
Mississippi .
{ ppt) Resident of County 300 $3,712,027.00 a Resident
Resident and Loss in County 1,063 $21 395,800.00 Bath
Claim Loss in County 202 $2,916,300.00
Totals: 1,565 $28,024,127.00
Harrison 41,087 Claimant Type Claims Paid Amount Paid Payments in County
Mississippi ,
( pp!) Resident of County 859 $11,283,036.50 Easel Resident
Eee Loss
Resident and Loss in County 7,614 $109,668,265.95 Eis: Both
Claim Loss in County 1,476 $17,835,100.00
Totals: 9,949 $138,786,402.45

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Hinds 702 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) Resident of County 32 $3,382,000.00 Resident
Resident and Loss in County 2 $17,800.00
Claim Loss in County 8 $131,400.00
Totals: 42 $3,531,200.00
(Minreeipoty 9 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $18,900.00
Claim Loss in County 1 $28,000.00
Totals: 3 $46,900.00
Issaquena 4 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) Resident of County 1 $10,000.00 IES Resident
Totals: 1 $10,000.00
Itawamba 12 Claimant Type Claims Paid Amount Paid Payments in County
(Mississipp!) Resident of County 2 $10,200.00 Enea Resident
Totals: 2 $10,200.00
Jackson 21,245 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) Resident of County 989  $11,423,000.00 et Resident
Resident and Loss in County 2,398 $41,411,700.00 ne
Claim Loss in County 871 $11,512,010.56
Totals: 4,258 $64,346,710.56

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Jasper 239 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $22 200.00 ie Resident
gece) Both
Resident and Loss in County 1 $25,500.00
Totals: 3 $47,700.00
Jefferson 54 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $18,200.00
Resident and Loss in County 1 $9,100.00
Totals: 3 $27,300.00
Jefferson Davis 605 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 3 $41,800.00 lial Resident
Totals: 3 $41,800.00
Jones 534 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 14 $224,700.00 EEE Resident
E25 Loss
Resident and Loss in County 1 $50,000.00
Claim Loss in County 1 $17,300.00
Totals: 16 $292,000.00
Kemper 12 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Claim Loss in County 2 $108,800.00 ae Loss
Totals: 2 $108,800.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Lafayette 45 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippt) Resident of County 10 $92,100.00 Emad Resiient
Totals: 10 $92,100.00
Lamar 475 Claimant Type Claims Paic Amount Paid Payments in County
(Mississippi) Resident of County 13 $173,500.00 ia Resident
Resident and Loss in County $102,000.00
Claim Loss in County 2 $34,000.00
Totals: 18 $309,500.00
Lauderdale 237 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) Resident of County 24 $217,400.00 Riss Resident
Totals: 24 $217,400.00
Lawrence 335 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippl) Resident of County 4 $60,500.00 = resident
Resident and Loss in County 5 $67,500.00 ii Both
Claim Loss in County 2 $18,500.00
Totals: 11 $146,500.00
Leake 34 Claimant Type Claims Paid Amount Paid Payments in County
(milssissippl) Resident of County 3 $68,000.00 HBB Resident
Totals: 3 $68,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Lee 64 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 11 $106,200.00 EBB Resident
Totals: 11 $106,200.00
Leflore 28 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 4 $24 800.00 iis Resident
Totals: 4 $24,800.00
Lincoln 103 Cfaimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
. He Resident
Resident of County 4 $110,506.00 SG Lose
Claim Loss in County 2 $122,200.00
Totals: 6 $232,700.00
Lowndes 89 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
. Bee Resident
Resident of County 16 $150,600.00 === Both
Resident and Loss in County 1 $2,400.00
Totals: 17 $153,000.00
Madison 388 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 47 $478,600.00 HEH Resident
EEE! Loss
Resident and Loss in County 3 $52,900.00 pee Both
Claim Loss in County 1 $69,400.00
Totals: 51 $600,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Marion 798 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
| Ee Resident
Resident of County 11 $180,600.00 = Loss
Resident and Loss in County 5 $98,900.00 REE Both
Claim Loss in County . 2 $57,000.00
Totals: 18 $336,500.00
Marshall 7 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 2 $21,060.00 28 Resident
Totals: 2 $21,000.00
(Miseieog 29 Claimant Type Claims Paid Amount Paid Payments in County
ississippi
Resident of County 14 $116,000.00 Had Resident
Totals: 14 $116,000.00
Montgomery 15 Claimant Type Claims Paid Amount Paid Payments in County
Mississippi)
( Resident of County 3 $32 500.00 Hee Resident
Totals: 3 $32,500.00
Neshoba 75 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 3 $160,600.00
Claim Loss in County 2 $137,300.00
Totals: 5 $297,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Newton 34 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 3 $82,600.00 #8] Resident
Totals: 3 $82,600.00
Noxubee 21 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $8,800.00 ia Resident
Totals: 1 $8,800.00
Oktibbeha 57 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 11 $143,900.00 Hal Resident
Totals: 11 $143,900.00
Panola 13 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $14,700.00 Regal Resident
Totals: 2 $14,700.00
Pearl River 2,236 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 228 $2,335,400.00 i@aia Resident
ae, Loss
Resident and Loss in County 26 $691,700.00 ee Both
Claim Loss in County 1 $44,000.00
Totals: 255 $3,071 ,100.00

GCCF Program Siatistics - Overall Summary
(as of February 16, 2011)

Perry 277 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
: Bey Resident
Resident of County 5 $31,700.00 Bath
Resident and Loss in County 3 $44,200.00
Totals: 8 $135,900.00
Pike 406 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
j Se) Resident
Resident of County 29 $291,060.00 Se Loss
Resident and Loss in County 2 $150,000.00 oth
Claim Loss in County 1 $12,000.00
Totals: 32 $453,000.00
Rankin 309 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
. #8 Resident
Resident of County 35 $521,800.00 2251 Loss
Claim Loss in County 1 $2,000.00
Totals: . 36 $523,800.00
Scott 52 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 7 $76,900.00 SEE Resident
Totals: 7 $76,900.00
Sharkey 2 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $4,800.00
Totals: 1 $4,800.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Simpson 178 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
; HG) Resident
Resident of County 5 $55,400.00 == Both
Resident and Loss in County 1 $30,800.00
Totals: 6 $86,200.00
Smith 155 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $3,100.00 fiat Resident
geue Both
Resident and Loss in County 1 $238,500.00
Totals: 2 $241,600.00
Stone 1,302 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 120 $1,627,100.00 — resident
Resident and Loss in County 35 $909,400.00
Claim Loss in County 10 $206,100.00
Totals: 165 $2,742,600.00
Sunflower 28 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) i
Resident of County 3 $26,800.00 Sige! Resident
Totals: 3 $26,800.00
Tishomingo 6 Claimant Type Claims Paid Amount Paid Payments in Gounty
(Mississippi) ,
Resident of County 1 $2,100.00 EEEE Resident
Totals: 1 $2,100.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Tunica 8 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $2,400.00 EEE Resident
Totals: 1 $2,400.00
Unknown 287 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) /
Resident of County 25 $373,500.00 ial Resident
Totals: 25 $373,500.00
Walthall 208 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) .
Resident of County 3 $47,300.00 iim Resident
Totals: 3 $47,300.00
Warren 73 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 10 $68,500.00 Keil Resident
Totals: 10 $68,500.00
Washington 63 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 6 $30,100.00 ial Resident
ee: Both
Resident and Loss in County 1 $2,200.00
Totals: 7 $32,300.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Wayne 257 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
: GMa Resident
Resident of County 6 $116,500.00 = Lose
Resident and Loss in County 3 $86,600.00 a
Claim Loss in County 4 $5,900.00
Totals: 10 $209,000.00
Webster 6 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 1 $3,000.00 Halal Resident
Totals: 1 $3,000.00
Wilkinson 44 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi) _
Resident of County 2 $10,800.00 HS Resident
Totals: 2 $10,800.00
Winston 49 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $10,500.00 ie Resident
Totals: 2 $10,500.00
Yalobusha 5 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 2 $14,400.00 HESS Resident
Totals: 2 $14,400.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Yazoo 23 Claimant Type Claims Paid Amount Paid Payments in County
(Mississippi)
Resident of County 3 $11,400.00
Claim Loss in County 4 $74,400.60
Totals: 4 $85,800.00
Anderson 8 Claimant Type Claims Paid Amount Paid Payments in.County
(Texas)
Resident of County 1 $3,300.00
Totals: 1 $3,300.00
aoe 35 Claimant Type Claims Paid Amount Paid Payments in County
exas
Resident of County 2 $31,700.00 #289 Resident
Totals: 2 $31,700.00
Aransas 141 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) .
i Hee) Resident
Resident of County 2 $28,200.00 SERE Lose
Resident and Loss in County 17 $191,900.00 B Both
Claim Loss in County 4 $41,600.00
Totals: 23 $261,700.00
Austin (Texas) 8 Claimant Type Claims Paid Amount Paid Payments in County
Claim Loss in County 1 $7,400.00 HESBE Loss

Totals:

1

$7,400.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Bastrop 9 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) | eect
Resident of County 1 $6,900.00 q Resident
Totals: 1 $6,900.00
Bay (Texas) 1 Claimant Type Claims Paid Amount Paid Payments in County
Claim Loss in County 1 $37,100.00 HEE Loss
Totals: 1 $37,100.00
Bell (Texas) 49 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 3 $29,700.00 g Resident
Totals: 3 $29,700.00
Bexar (Texas) 280 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 24 $297,400.00 _ Reeent
Resident and Loss in County 3 $255,600.00 .
Totals: 27 $553,000.00
Blanco (Texas) 9 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $41,500.00 Hag Resident
Totals: 1 $11,500.00

_ GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Bowie (Texas) 19 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $6,500.00 Hi Resident
Totals: 2 $6,500.00
Brazoria 339 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 20 $570,500.00 fl Resident
eee5 Loss
Resident and Loss in County 32 $1,212,600.00 faee Both
Claim Loss in County 32 $499,800.00
Totals: 84 $2,282,900.00
Brazos (Texas) 31 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $21,700.00 Resident
Claim Loss in County 2 $24,200.00
Totals: 4 $45,900.00
Brown (Texas) 3 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County { $8,600.00 ima Resident
Totals: 1 $8,600.00
Calhoun 248 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 13 $583,000.00 teen Resident
fees Loss
Resident and Loss in County 16 $1,004,100.00 Bees Both
Claim Loss in County 32 $696,300.00
Totals: 61 $2,283,400.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Cameron 849 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 20 $881,700.00 Hei Resident
eees Loss
Resident and Loss in County 129 $3,323,700.00
Claim Loss in County 1 $1,600.00
Totals: 150 $4,207,000.00
Chambers 93 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
j fs Resident
Resident of County 5 $114,600.00 BE5 Loss
Resident and Loss in County 20 $805,400.00 coy
Claim Loss in County 6 $122,500.00
Totals: 31 $1,042,500.00
Cherokee 6 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $1,700.00 Hi Resident
Totals: 1 $1,700.00
Collin (Texas) 239 Claimant Type Claims Paid Amount Paid Payments in County
i Ee Resident
Resident of County 53 $676,700.00 SH Loss
Claim Loss in County 4 $115,100.00
Totals: 57 $791,800.00
Colorado 9 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $36,000.00 HEEH Resident
Toials: 1 $36,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Comal (Texas) 42 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 8 $187,800.00 Ree Resident
Totals: 8 $187,800.00
Dallas (Texas) 839 Claimant Type Claims Paid Amount Paid Payments in County
: tea Resident
Resident of County 82 $1,990,200.00 == Loss
Resident and Loss in County 3 $181,700.00 Hai Both
Claim Loss in County $113,500.00
Totals: 93 $2,285,400.00
Denton 134 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 23 $297,300.00 Hl Resident
Totals: 23 $227,300,00
Ector (Texas) 4 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $1,500.00 $28) Resident
Totals: 1 $1,500.00
El Paso 18 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 2 $8,600.00 HEM Resident
Totals: 2 $8,600.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Ellis (Texas) 24 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $25,000.00 HBB Resident
Totals: 1 $25,000.00
Fannin (Texas) 4 Claimant Type Claims Paid Amount Paid Payments in County
Resicent of County | $26,000.00 Haag Resident
Totals: 1 $20,000.00
Foard (Texas) 5 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County j $13,000.00 Hae Resident
Totals: 1 $13,000.00
Fort Bend 433 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 46 $1,463,900.00 GM Resident
es Loss
Resident and Loss in County 8 $130,300.00 geen Both
Claim Loss in County 8 $200,500.00
Totals: 62 $1,794,700.00
Freestone 6 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $23 000.00 HEH Resident
Totals: 1 $23,000.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Galveston 2,046 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 145 $4,808,300.00
Resident and Loss in County 427 $12,175,200.00
Claim Loss in County 143 $2,286 500.00
Totals: 715 $19,270,000.00
Grayson 14 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) Resident of County 2 $17,300.00 on hesigent
Claim Loss in County 1 $3,300.00
Totals: 3 $20,600.00
Gregg (Texas) 27 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 5 $73,400.00 Eel Resident
Totals: 5 $73,400.00
Grimes (Texas) 8 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $7,900.00
Totals: 1 $7,900.00
Guadalupe 6 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) Resident of County 2 $42,600.00 Hie Resident
Totals: 2 $42,600.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Hale (Texas) 1 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $5 800.00 HE Resident
Totals: 1 $5,800.00
Hardin (Texas) 41 Claimant Type Claims Paid Amouni Paid Payments in County
Resident and Loss in County 1 $10,000.00 @ Both
Totals: 1 $10,000.00
Harris (Texas) 5,241 Claimant Type Claims Paid Amount Paid Payments in County
: Hees Resident
Resident of County 471 $28,499,400.00 == Loss
Resident and Loss in County 163 $6,278,600.00 iene Both
Claim Loss in County 143 $12,370,000.00
Totals: 777 $47,148,000.00
Harrison 12 Claimant Type Claims Paid Amount Paid Payments in County
Texas .
( ) Resident of County 1 $10,400.00 age Resident
Totals: 1 $10,400.00
Hays (Texas) 21 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $30,800.00 Haga Resident
Totals: 2 $30,800.00

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GCCF Program Siatistics - Overall Summary
(as of February 16, 2011)

Henderson 8 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $7,000.00 El Resident
Toials: 1 $7,000.00
Hidalgo 148 Claimant Type Ctaims Paid Amount Paid Payments in County
(Texas) .
Resident of County 2 $6,700.00 iia Resident
: e223 Loss
Resident and Loss in County 1 $6,000.00 meee Both
Claim Loss in County 1 $10,300.00
Totals: 4 $23,000.00
Hill (Texas) 5 Ciaimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $21,600.00 #8 Resident
Totals: 1 $21,600.00
Hood (Texas) 18 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $4 600.00 Hea Resident
Totals: 1 $4,600.00
Hopkins 5 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $9,700.00 ied Resident
Totals: 1 $9,700.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Jasper (Texas) 37 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 5 $190,700.00 HEE Resident
Totals: 5 $190,700.00
Jefferson 1,960 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) .
Resident of County 133 $3,299,300.00 Hl Resident
goes Loss
Resident and Loss in County 332 $7 395,500.00 # Both
Claim Loss in County 54 $1 388,600.00
Totals: 519 $12,083,400.00
Jim Hogg 1 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Claim Loss in County 1 $32,400.00 imal Loss
Totals: 1 $32,400.00
Jim Wells 5 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident and Loss in County 1 $79,900.00 ie Both
Totals: 1 $79,900.00
Johnson 33 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 4 $155,100.00
Claim Loss in County 1 $24,600.00
Totals: 5 $179,700.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Kaufman 23 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $11,600.00 Ete Resident
Toials: 1 $11,600.00
Kendall 7 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) ER Rae:
Resident of County 2 $15,700.00 a Resident
Totals: 2 $15,700.00
Kerr (Texas) 11 Claimant Ty pe Claims Paid Amount Paid Payments in County
Resident of County 2 $44,200.00 EEE] Resident
Totals: 2 $14,200.00
Kleberg 12 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) ,
Resident of County 2 $34,900.00 iia Resident
2258) Both
Resident and Loss in County 1 $4,100.00
Totals: 3 $39,000.00
Lamar (Texas) 4 Claimant Type Claims Paid Amount Paid Payments in County

Resident of County

i

$3,200.00

Totals:

1

$3,200.00

Bee Resident

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Liberty (Texas) 51 Claimant Type Claims Paid Amount Paid Payments in County
: BS) Resident
Resident of County 2 $31,400.00 224) Both
Resident and Loss in County 2 $105,000.00
Totals: 4 $136,400.00
Llano (Texas) i1 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County { $34,200.00 ieaw Resident
Totals: 1 $34,200.00
Lubbock 18 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) ,
Resident of County 2 $4,600.00 Ha Resident
Totals: 2 $4,600.00
Matagorda 440 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
: Bee Resident
Resident of County 24 $1,132,400.00 SEE Loce
Resident and Loss in County 102 $4,731 ,600.00 Both
Claim Loss in County 14 $828,100.00
Totals: 140 $6,692,100.00
Mclennan 36 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) /
Resident of County 14 $197,900.00 ESE Resident
Totals: 11 $197,900.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Medina 4 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $49,600.00 HSH Resident
Totals: 1 $49,600.00
Midland 6 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $2,300.00
Totals: 1 $2,300.00
Milam (Texas) 3 Claimani Type Claims Paid Amount Paid Payments in County
Resident of County 1 $5,800.00 2B Resident
Totals: 1 $5,800.00
Montgomery 315 Claimant Type Claims Paid Amount Paid Payments in County
exas .
Resident of County 30 $585,500.00 SEE Resident
BES Loss
Resident and Loss in County 2 $70,700.00 must Both
Clair Loss in County 1 $9,100.00
Totals: 33 $665,300.00
Ma texes) 27 Claimant Type Claims Paid Amount Paid Payments in County
exas
: Bee Resident
Resident of County 4 $141,800.00 = Loss
Claim Loss in County 5 $252,000.00
Totals: 9 $393,800.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Nueces 212 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) on nc:
Resident of County 7 $85,500.00 Resident
Resident and Loss in County 4 $92,800.00 Boih
Claim Loss in County 2 $24,500.00
Totals: 13 $202,800.00
Orange 273 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) .
Resident of County 19 $250,900.00 i Resicert
Resident and Loss in County 17 $423,900.00 & Both
Claim Loss in County 7 $149,900.00
Totals: 43 $824,700.00
Parker (Texas) 13 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $5,800.00 Rie Resident
Totals: 1 $5,800.00
Polk (Texas) 13 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 4 $89,600.00 Bin Resident
Totals: 4 $89,600.00
Presidio 4 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) .
Resident of County 2 $3,900.00 BEE Resident
Totals: 2 $3,900.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Refugio 14 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) ,
Resident of County 1 $26,900.00 Resident
Totals: 1 $26,900.00
Rockwall i9 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) -
Resident of County 4 $55,300.00 Hid Resident
Totals: 4 $55,300.00
Sabine (Texas) 9 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $44,100.00 Hay Resident
Totals: 2 $44,100.00
San Jacinto 1i Claimant Type Ctaims Paid Amount Paid Payments in County
(Texas)
Resident of County 3 $48 900.00 IEA Resident
es Loss
Claim Loss in County 1 $30,000.00
Totals: 4 $78,900.00
San Patricio 169 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) _
Resident of County 2 $43,300.00 Ham Resident
Resident and Loss in County 8 $176,000.00
Claim Loss in County 1 $15,000.00
Totals: 11 $234,300.00

GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Smith (Texas) 26 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $51,200.00 i Resident
Totals: 2 $51,200.00
Tarrant 497 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) Resident of County 71 $1,170,700.00 a Resident
Resident and Loss in County 5 $392,700.00
Claim Loss in County 8 $484,200.00
Totals: 34 $2,047,600.00
Titus (Texas) & Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $1,000.00 Wied Resident
Totals: 1 $1,000.00
Tom Green 11 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) Resident of County 3 $21,300.00 atest Resident
Totals: 3 $21,300.00
Travis (Texas) 242 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 30 $341,900.00 Remcent
Resident and Loss in County 2 $16,000.00
Totals: 32 $357,900.00

GCCF Program Statistics - Overall Summary

(as of February 16, 2011)

Tyler (Texas) 6 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 3 $28,000.00 He Resident
Totals: 3 $28,000.00
Unknown 57 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 2 $85,000.00 Haw Resident
Totals: 2 $85,000.00
Vermilion 2 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Claim Loss in County 2 $42,500.00 See LOSS
Totals: 2 $42,500.00
Victoria 33 Claimant Type Claims Paid Amount Paid Payments in County
(Texas) .
Resident of County 3 $44 700.00 HERE Resident
ieee Loss
Resident and Loss in County 1 $9,400.00 Bee Both
Ciaim Loss in County 1 $6,900.00
Toials: 5 $61,000.00
Waller (Texas) 9 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 2 $44,200.00 #28 Resident
Totals: 2 $44,200.00

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GCCF Program Statistics - Overall Summary
(as of February 16, 2011)

Webb {Texas) 5 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 4 $23 800.00 Bee) Resident
Totals: 1 $23,800.00
Wichita 9 Claimant Type Claims Paid Amount Paid Payments in County
(Texas)
Resident of County 1 $2 700.00 28 Resident
Totals: 1 $2,700.00
Williamson 60 Claimant Type Claims Paid Amount Paid Payments in County
Texas
( ) Resident of County 10 $104,300.00 HEB Resident
Totals: 10 $104,300.00
Wise (Texas) 2 Claimant Type Claims Paid Amount Paid Payments in County
Resident of County 1 $7,600.00 ee Resident
Totals: 1 $7,600.00

